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 1   Randall T. Garteiser (CA State Bar No. 231821)
        rgarteiser@ghiplaw.com
 2
     Christopher A. Honea (CA State Bar No. 232473)
 3      chonea@ghiplaw.com
     M. Scott Fuller (TX State Bar No. 24036607)
 4      sfuller@ghiplaw.com
     GARTEISER HONEA
 5   795 Folsom St., Floor 1, San Francisco, CA 94107
     119 W Ferguson, Tyler, TX 75702
 6
     Telephone: (415) 785-3762
 7   Facsimile: (888) 908-4400

 8   Attorneys for Plaintiff,
     CELLSPIN SOFT INC.
 9
                             IN THE UNITED STATES DISTRICT COURT
10
                           FOR THE NORTHERN DISTRICT OF CALIFORNIA
11                                    OAKLAND DIVISION

12   CELLSPIN SOFT, INC.,                               §
                                                        §   PLAINTIFF’S UNOPPOSED
13          Plaintiff,                                  §   MOTION TO STAY ALL DEADLINES
14                                                      §   INDEFINITELY
            v.                                          §
15                                                      §
                                                        §
16   FITBIT, INC.,                                      §   Case No. 4:17-CV-05928-YGR
     MOOV, INC.,                                        §   Case No. 4:17-CV-05929-YGR
17   NIKE, INC.,                                        §   Case No. 4:17-CV-05931-YGR
18   UNDER ARMOUR, INC.,                                §   Case No. 4:17-CV-05932-YGR
     FOSSIL GROUP, ET AL.,                              §   Case No. 4:17-CV-05933-YGR
19   GARMIN INTERN., INC., ET AL., and                  §   Case No. 4:17-CV-05934-YGR
     NIKON AMERICAS, INC.,                              §   Case No. 4:17-CV-05936-YGR
20                                                      §
            Defendants.                                 §
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               Case 4:17-cv-05929-YGR Document 190 Filed 11/12/21 Page 2 of 3



 1          Plaintiff Cellspin Soft, Inc. respectfully submits this Unopposed Motion to Suspend All Deadlines in
 2
     these matters Indefinitely.
 3
            The instant Motion is brought by Cellspin, and is unopposed by Defendants, in light of unique
 4
     circumstances beyond the control of the parties. In short, certain of Plaintiff’s experts, Dr. Garlick and Mr.
 5
     Blok, are unavailable due to unforeseen conflicts, and the timeline for their renewed availability is uncertain
 6

 7   at this time. The underlying details are set forth in the appended Declaration of M. Scott Fuller, which is

 8   attached as Exhibit A hereto. Due to privacy concerns, the appended Declaration will be submitted under seal.
 9          In view of the circumstances, Plaintiff requests an Order Suspending all deadlines indefinitely, subject
10
     to the filing of a Status Report by Plaintiff within 30 days. It is Plaintiff’s desire to provide the Court with an
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     updated Agreed Proposed Amended Schedule at the time of the Status Report.            Plaintiff agrees not to take
12
     the deposition of Defendants’ experts after the current close of expert discovery, November 23, 2021.
13

14   //

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16

17    Respectfully submitted,
18

19    Dated: November 12, 2021                          GARTEISER HONEA

20                                                      /s/ M. Scott Fuller
                                                        Randall T. Garteiser
21                                                      CA State Bar No. 231821
22                                                      Christopher A. Honea
                                                        CA State Bar No. 232473
23                                                      M. Scott Fuller
                                                        TX State Bar No. 24036607
24
                                                        Attorneys for Plaintiff
25
                                                        Cellspin Soft, Inc.
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     UNOPPOSED MOTION FOR INDEFINITE STAY                                                                         1
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 2
                                         CERTIFICATE OF SERVICE
 3
            The undersigned hereby certifies that a true and correct copy of the above and foregoing document
 4   has been served via electronic mail on November 12, 2021 to all counsel of record.

 5                                                  /s/ M. Scott Fuller
                                                    M. Scott Fuller
 6

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 9
                                      CERTIFICATE OF CONFERENCE
10

11          The undersigned hereby certifies that the content of the foregoing document was discussed with
     opposing counsel, and all opposing consent to the filing and are unopposed to the relief sought herein.
12
                                                    /s/ M. Scott Fuller
13                                                  M. Scott Fuller
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     UNOPPOSED MOTION FOR INDEFINITE STAY                                                                2
